

People v Branch (2024 NY Slip Op 5650)





People v Branch


2024 NY Slip Op 5650


Decided on November 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2024

Before: Webber, J.P., Singh, Gesmer, González, Scarpulla, JJ. 


Ind No. 72629/22 Appeal No. 3019-3020 Case No. 2023-01437, 2023-04114 

[*1]The People of The State of New York, Respondent,
vMalik Branch, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Faith DiTrolio of counsel) and Darcel D. Clark, District Attorney, Bronx (Vincent Rivellese of counsel), for respondent.



Appeals having been taken to this Court by the above-named appellant from judgments of the Supreme Court, New York County (Althea E.M. Drysdale, J.), rendered July 25, 2023, and of the Supreme Court, Bronx County (Tara Collins, J.), rendered March 9, 2023,
Said appeals having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgments so appealed from be and the same are hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2024
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








